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                     IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


MIDWEST FLOOR COVERINGS, INC., a
Utah corporation,
                                                 DEFENDANT STEVEN CHAVEZ’S
              Plaintiff,                         MOTION TO DISMISS FOR LACK OF
                                                 PERSONAL JURISDICTION
v.
                                                          Case No. 2:18-cv-465 EJF
DORADO SOAPSTONE, LLC, a Colorado
limited liability company and STEVEN
CHAVEZ, an individual,                                     Judge Robert J. Shelby
                                                       Magistrate Judge Evelyn J. Furse
              Defendants.



       STEVEN CHAVEZ (“Mr. Chavez”), through his undersigned counsel, hereby respectfully

moves the United States District Court for the District of Utah (the “Court”) to Dismiss Mr.

Chavez from the above-captioned civil action for Lack of Personal Jurisdiction (“Motion”),

pursuant to FED.R.CIV.P. 12(b)(2) and DUCivR 7-1, and in support thereof, states as follows:

                            GROUNDS FOR RELIEF SOUGHT

       Pursuant to FED.R.CIV.P. 12(b)(2), this Court lacks jurisdiction over Mr. Chavez because
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he did not personally guaranty the obligations of Dorado Soapstone, LLC (“Dorado”) or subject

himself to the forum selection clause of agreements with Plaintiff Midwest Floor Coverings, Inc.

(“Midwest”). Mr. Chavez does not have sufficient minimum contacts with the state of Utah. In the

event that such contacts are considered sufficient against Defendant Dorado, Mr. Chavez was

acting on behalf of Dorado and not in his individual capacity and is not personally subject to

jurisdiction in this Court.


                                       FACTUAL BACKGROUND
        1.       On June 8, 2018, Midwest commenced the above-captioned civil action against

Dorado and Mr. Chavez (hereinafter, collectively “Defendants”) by filing the Complaint within

this Court [Dkt. No. 2];1 wherein Midwest asserts claims for relief of breach of contract and unjust

enrichment against Dorado and fraudulent misrepresentation against Mr. Chavez. Id. at pp.5-7.

        2.       Pursuant to a Request for Entry of Default filed on July 12, 2018 [Dkt. No. 7], the

Court entered the Default Certificate against Dorado on July 20, 2018 [Dkt. No. 9]. In addition, the

Court entered a Default Certificate against Mr. Chavez on September 20, 2018 [Dkt. No. 17].

        3.       Upon the Court entering a default against each of the Defendants, Midwest filed a

Motion for Default Judgment against Dorado on August 17, 2018 [Dkt. No. 11] and against Mr.

Chavez on October 12, 2018 [Dkt. No. 19] (hereinafter, collectively “Rule 55(b) Motions”).

Pursuant to the Rule 55(b) Motions, Midwest seeks a judgment against the Defendants for the sum



1
    Unless otherwise stated, “Dkt. No.       ” refers to the docket within the CM/ECF system maintained by this
    Court for the above-captioned civil action; styled as, Midwest Floor Coverings, Inc. v. Dorado Soapstone, LLC, et
    al., Case No. 2:18-cv-465 EJF (“Civil Action”).

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of $403,047.87 as the purported principal and interest “due under the fraudulently induced

Promissory Note.” Dkt. No. 19 at p.5; cf. Dkt. No. 11 at p.4.

       4.      As of this Motion, the Court has yet to adjudicate the Rule 55(b) Motions.

       5.      This Action stems from a distribution arrangement (the “Venture”) by and between

Midwest and Dorado (“Business Parties”) commencing on or about January 5, 2017, pursuant to

“Adjusted Purchase Order(s)” (“PO’s”). As evidentiary support for all factual allegations

enumerated hereinafter, the Affidavit of Steven J. Chavez in Support of Motion to Dismiss

(“Affidavit”) is attached hereto as EXHIBIT 1 and incorporated by reference herein.

       6.      Mr. Chavez holds a ninety-eight and four-one hundredths percent (98.04%)

membership interest in Dorado, which is a Colorado limited liability company. Exh. 1 at p.2 (¶2).

In addition, Mr. Chavez is the managing member and president of Dorado. Ibid.

       7.      In or around December of 2016, Jeremy Burch – a sales representative employed

by Dorado – visited the Denver, Colorado showroom of Midwest Floor Coverings, Inc.

(“Midwest”) located at 14550 East 38th Avenue, Aurora, Colorado 80011 (“Denver Showroom”)

and spoke with Cory Wilcox, a sales representative for Midwest (“Introductory Meeting”). Id.

¶¶4-5. At the request of Midwest, the Introductory Meeting resulted in Spencer Egan and/or Eric

Parrish – Vice President and President of Midwest – meeting with Mr. Burch and Mr. Chavez at

either Midwest’s Denver Showroom or its corporate office located at 810 West 2500 South, Salt

Lake City, Utah 84119 (“Corporate Office”). Id. at pp.2-3 (¶¶5(a)-(c).

       8.      Commencing on or about January 5, 2017 through January 10, 2017, and after Mr.

Burch and Mr. Chavez traveled to and from Midwest’s Corporate Office within a twenty-four (24)

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hour period, Midwest submitted Purchase Order No(s). 873205-DEN, 873299-DEN,

873300-DEN, 873305-SAL, 873314-SAL and 873334-DEN (hereinafter, collectively “PO’s”). Id.

at p.3 (¶¶5(c) -6).

        9.      In addition, Dorado issued Invoice No(s). 5228 and 5229 (hereinafter, collectively

“Invoices”) to Midwest on or about January 10, 2017. Id. at ¶7.

        10.     Dorado relied on the PO’s, Invoices and communications by and between the

Business Parties – through the pre-PO’s meetings and post-PO’s electronic mail (“e-mail”) and

telephone calls – to inform Dorado’s supplier in Jiujang City, China of entering into the Venture,

ordering products from Jiangxi Jingwei Stone Co., Ltd. and Loyalty Enterprise Development

(Xinyang) Co. Ltd. (hereinafter, collectively “Suppliers”), and paying deposits to the Suppliers in

the amount of $172,870.65. Id. at p.4 (¶¶8-9)

        11.     In accordance with the PO’s and Invoices, Midwest tendered the sum of

$502,989.59 (“Prepayments”) by and through three deposits from January 12, 2017 through

January 20, 2017 to JPMorgan Chase Bank, N.A. Account No. ending 0938, which Dorado

maintains within a branch located at 1125 17th Street, Denver, Colorado 80202. Id. at ¶10.

        12.     By and through e-mails and telephone calls from January 11, 2017 through

February 9, 2017, the Business Parties discussed – beyond purchase and sale of products – the

logistics, marketing and operations of the Venture including, but not limited to, as follows:

        a.      On January 15, 2017, Dorado sought to schedule “a presentation to the Midwest

team…in Denver at Midwest flooring…” Id. at p.5 (¶11(a));



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       b.      On or about January 17, 2017, Dorado announced its “new distribution partnership

[in the Rocky Mountain region].” Id. at ¶11(b). Furthermore, the mass mailing included a question

and answer section that disclosed, as follows:

                       Q:      At what locations will Midwest warehouse and
                               provide Dorado/NuStone material?
                       Colorado Location
                       14550 East 38th Avenue
                       Aurora, CO. 80011
                       Corporate Office – Utah Location
                       810 West 2500 South
                       Salt Lake City, Utah 84119

       Ibid. (emphasis in original); and

       c.      On January 27, 2017, Mr. Parrish copied Mr. Chavez on an e-mail that informed

another distributor “[Midwest] just partnered with Nustone and Dorado Stone…We now have the

ability to attack Multi-housing (sic) and High End Residential with one offering.” Id. at ¶11(c).

       13.     However, on or about February 7, 2017, Midwest canceled the PO’s, rescinded the

Venture and asserted that Dorado failing to repay the Prepayments in the entirety would be “a

breach of contract as we always were under the assumption that we could cancel an order and

never were informed we would lose the first portion of a deposit.” Id. at p.5 (¶12). Although

Midwest agreed to sell the goods ordered as “a special in the market place to quickly get back to

whole… [Midwest] believe[d] this will be detrimental to the business of Nustone and make it

difficult to control pricing and margin the future.” Id. at pp.5-6 (¶12).




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        14.     On February 9, 2017, Mr. Chavez responded by emphasizing his concern that

Dorado would lose the trust of and ability to continue doing business with the Suppliers; and that

cancelling the PO’s “puts [Dorado] in a terrible cash flow position.” Id. at p.6 (¶13).

        15.     Pursuant to an e-mail exchange from February 15, 2017 through March 21, 2017,

the Business Parties agreed that Dorado would reimburse the Prepayments to Midwest in

accordance with a payment plan set forth under an agreement, as described by Mr. Parrish to Mr.

Chavez, “[j]ust like a standard bank loan…” Id. at ¶14. Furthermore, Midwest found that “the Note

sounds like the cleanest way for both parties to stay complete” and, as drafter of the Note decided

all terms and conditions including, but not limited to, rate of interest and whether I would need to

sign a personal guaranty. Ibid.

        16.     Although prior e-mails demonstrate that Midwest sought a security interest from

Dorado and Mr. Chavez to personally guaranty, the Promissory Note dated July 7, 2017 (“Note”)

included neither. Id. at ¶15; see also Dkt. No. 2-1, p.2.

        17.     From July 20, 2017 through October 23, 2017, Dorado tendered three (3) payments

to Midwest in the amount of $27,943.87 for each installment, in accordance with the Note. Exh. 1

at p.7 (¶16). However, on November 15, 2017, Dorado requested to modify the payment terms of

the Note for the months of November and December of 2017 and January 2018 as “Holiday season

is slow so cash flow is tight.” Id. at ¶17.

        18.     In response, Midwest agreed to “modify our agreement…However, I ask that the

loan balance still be paid in full by the original maturity date (Dec 15, 2018).” Ibid.



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        19.     Nonetheless, Dorado’s cash flow issues continued, and Midwest decided to pursue

this civil action within the United States District Court for the District of Colorado against both

Dorado and I prior to the December 31, 2018 maturity date arising. Id. at ¶18.

        20.     Furthermore, Mr. Chavez does not conduct business in the State of Utah either as

an agent of Dorado or in his personal capacity, has not traveled to Utah for work or personal

matters other than the one-time 24-hour visit at the request of Midwest, and has never held

employment with a company either formed or operating in Utah. Id. at pp.7-8 (¶¶19-22).



                                            ARGUMENT

        Midwest fails to make a prima facie showing that personal jurisdiction over Mr. Chavez

exists within the State of Utah. “[A] federal court generally may not rule on the merits of a case

without first determining that it has jurisdiction over the category of claim in suit (subject-matter

jurisdiction) and the parties (personal jurisdiction).” Sinochem Int'l Co. v. Malay. Int'l Shipping Corp.,

549 U.S. 422, 430–31 (2007) (citing Steel Co. v. Citizens for Better Env’t, 523 U.S. 83, 93-102 (1998));

see also Williams v. Life Sav. & Loan, 802 F.2d 1200, 1203 (10th Cir.1986). “Each defendant’s

contacts with the forum State must be assessed individually.” Calder v. Jones, 465 U.S. 783, 790

(1984)(citing Rush v. Savchuk, 444 U.S. 320, 332 (1980)).

        When ruling on a motion to dismiss under Fed.R.Civ.P. 12(b)(2), “[a] court may consider

material outside of the pleadings.” 1-800-Contacts, Inc. v. Memorial Eye, PA, No.

2:08-CV-983-TS, 2009 WL 1586654, at *1 n. 1 (D. Utah June 4, 2009)(“does not convert the

motion into one for summary judgment”); see also MMK Group, LLC v. SheShells Co., LLC, 591


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F.Supp.944, 957 (N.D.Ohio 2008)(quoting Weller v. Cromwell Oil, 504 F.2d 927, 929-30 (6th

Cir.1974)(“Where [a motion to dismiss for personal jurisdiction] is filed, supported by affidavits,

the non-moving party may not rest upon allegations or denials in his pleadings but his response by

affidavit or otherwise must set forth specific facts showing that the court has jurisdiction”)

        The Tenth Circuit Court of Appeals instructs that “[t]o obtain personal jurisdiction over a

nonresident defendant in a diversity action, a plaintiff must show that jurisdiction is legitimate

under the laws of the forum state and that the exercise of jurisdiction does not offend the due

process clause of the Fourteenth Amendment." Pro Axess, Inc. v. Orlux Distribution, Inc., 428

F.3d 1270, 1276 (10th Cir. 2005) (quoting Far West Capital, Inc. v. Towne, 46 F.3d 1071, 1074

(10th Cir. 1995)). As the Utah long-arm statute “collapses . . . into the more general `due process'

standard for jurisdiction…jurisdictional inquiry in Utah diversity cases is reduced to a single

question: did the defendants have sufficient ‘minimum contacts’ with the state of Utah to establish

personal jurisdiction over them?” Rusakiewicz v. Lowe, 556 F.3d 1095, 1100 (10th Cir.

2009)(citing Fidelity & Cas. Co. of New York v. Philadelphia Resins Corp., 766 F.2d 440, 442

(10th Cir.1985)).

        The “minimum contacts” standard requires “that the out-of-state defendant must have

‘purposefully directed’ its activities at residents of the forum state, and second, that the plaintiff’s

injuries must ‘arise out of’ defendant’s forum-related activities.” Dudnikov v. Chalk & Vermilion

Fine Arts, Inc., 514 F.3d 1063, 1071 (10th Cir.2008). Therefore, Midwest must demonstrate, as

follows: “(1) continuing relationships with forum state residents (‘continuing relationships’); (2)

deliberate exploitation of the forum state market (‘market exploitation’); and (3) harmful effects in

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the forum state (‘harmful effects’).” Old Republic Ins. Co. v. Continental Motors, Inc., 887 F.3d

895, 905 (10th Cir.2017).

       Herein, the issue before the Court is not whether Midwest sustained injury, but whether

Mr. Chavez committed “(a) an intentional action…, that was (b) expressly aimed at the forum

state…, with (c) knowledge that the brunt of the injury would be felt in the forum state.” Id. at 907

(quoting Dudnikov, 514 F.3d at 1072); see also Burger King Corp. v. Rudzewicz, 471 U.S. 462,

478 (1985).

       Midwest asserts that Mr. Chavez purportedly falsely represented that Dorado used the

Prepayments “to order product from China on its behalf” and “never would have entered into the

Note…while Dorado still had the assets to pay the amount outstanding.” Dkt. No. 19-2 at p.3 (¶9).

However, Midwest’s justifiable reliance demonstrates a purported injury to a company operating

in both Colorado and Utah; not whether Mr. Chavez expressly directed an intentional action at

Utah. See Exh. 1 at pp.2-3 (¶¶4-5); cf. Calder, 465 U.S. at 788 (quoting Shaffer v. Heitner, 433

U.S. 186, 204 (1977)(“focuses on ‘the relationship among the defendant, the forum, and the

litigation”); see also Sangha v. Navig8 Ship Management Private Ltd., 882 F.3d 96, 103-04 (5th

Cir.2018)(conduct must connect him to the forum “in a meaningful way”).

       To the contrary, Midwest received payments in accordance with the Note from July

through October of 2017, and the Business Parties agreed to modified payment terms on

November 15, 2017 due to Dorado’s cash flow issues. Dkt. No. 19-2 at p.3 (¶¶12-13); accord Exh.

1 at p.7 (¶17). The ProFormas similarly discredit any conclusory allegation of an intentionally

false statement as Dorado paid a deposit to the Suppliers for goods purchased on behalf of

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Midwest and owed an additional $425,729.03 upon receiving the goods. Id. at p.4 (¶9).

Furthermore, the PO’s, Invoices and ProFormas indicate that Dorado exclusively conducted

business in Colorado while Midwest commenced business operations in Colorado and would

receive shipments at both its Utah and Colorado locations.

       Put simply, Mr. Chavez could not reasonably have assumed, based on his lack of contacts

with Utah, that he personally would be subject to suit before this Court. Even if this Court finds

that the fiduciary shield doctrine does not apply in Utah, personal jurisdiction does not exist under

the non-imputed contacts rule. See Newsome v. Gallacher, 722 F.3d 1257 (10th Cir.2013)(quoting

Keeton v. Hustler Magazine, Inc., 465 U.S. 770, 781 n.13 (1984)(“ jurisdiction over an employee

does not automatically follow from jurisdiction over the corporation which employs him…Each

defendant's contacts with the forum State must be assessed individually”)); see also ePlus

Technology, Inc. v. Aboud, 313 F.3d 166 (4th Cir.2002)(citing Calder, 465 U.S. at 790)(“In the

typical case, the contacts of a company are not attributed to a corporate agent for jurisdiction

purposes”). Mr. Chavez is not a resident of Utah and traveled to Utah one-time as an agent of

Dorado to discuss the Venture with Midwest. Most importantly, Mr. Chavez was neither privy to,

nor a personal guarantor of the Note. Id. at p.6 (¶15).

       Unlike the circumstances before the Aboud Court, Midwest fails to allege specific facts

that demonstrate either Mr. Chavez fraudulently misrepresented the financial circumstances of

Dorado or Mr. Chavez “organized, used, and controlled [Dorado] for the sole purpose of carrying

out h[is] own business interests.” Segil v. Gloria Marshall Management Co., Inc., 568 F.Supp.

915, 919 (D.Utah.1983)(citations omitted). Furthermore, Mr. Chavez offers a stream of

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communications contrary to the allegations within the Complaint, as follows: (1) Midwest caused

the need for the Note by terminating the Venture after Dorado ordered the goods from the

Suppliers; and (2) Midwest dictated the terms of the Note, which omits Mr. Chavez as a party or

personal guarantor subject to the forum selection clause. See Exh 1 at pp.5-6 (¶¶12-14); cf. Dkt.

No. 2 at p. 7 (¶39). Therefore, Midwest cannot here and now assert undocumented, ambiguous

facts to create contacts between Mr. Chavez and the State of Utah. Ibid.

       As the Note provides for no recourse against Mr. Chavez in his personal capacity, and

financial hardships have precluded Dorado from fully and finally complying with the payment

terms thereunder, Midwest pursues the fraudulent misrepresentation claim as an attempt to create a

connection between Mr. Chavez and the Note to bring him within the purview of this Court.

Dudnikov, 514 F.3d at 1071 (quoting Burger King, 471 U.S. at 475)(“to ensure that an out-of-state

defendant is not bound to appear to account for merely ‘random, fortuitous, or attenuated contacts’

with the forum state”).However, Midwest fails to make a prima facie showing of an intentional

action by Mr. Chavez that was expressly aimed at Utah. Therefore, the Court may find that

personal jurisdiction over Mr. Chavez does not exist within the State of Utah.




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                                          CONCLUSION

       WHEREFORE, Steven Chavez respectfully requests that the Court enter an Order, in the

form attached hereto, dismissing Midwest Floor Covering, Inc.’s Complaint against Mr. Chavez as

he does not have minimum contacts with the State of Utah to support a finding of personal

jurisdiction; and that this Court grant such other and further relief as it deems appropriate and just.


       DATED this 1 st day of November, 2018.

                                                       SHUMWAY VAN


                                                       /s/ Robert Tee Spjute
                                                       ROBERT TEE SPJUTE, ESQ.
                                                       Attorney for Steven Chavez




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                               CERTIFICATE OF SERVICE

        The undersigned certifies that on November 1, 2018, I electronically filed the foregoing,
DEFENDANT STEVEN CHAVEZ’S MOTION TO DISMISS FOR LACK OF PERSONAL
JURISDICTION via the Court’s CM/ECF system, which in turn affected service on all counsel
of record.

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                                                          For SHUMWAY VAN




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